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                                                                                                      AUSA: JONATHAN B.NEW (2 12) 637- 1049

    CR 1 z (nw. (ild2)                                     WARRANT FOR ARREST
                                                                                  -.
                                                                                  DISTRICT


                                                                                  SOUTHERN DISTRICT OF NEW YORK
                         UNITED STATES OF AMERICA
                                         v.                                       07 Mag. 0129                       I
                                                                                  NAME AND ADDRESS OF JNDlVLDUALTO BE ARRFSTED
                            ROBERT PETRINO, SR.
                                                                                                 ROBERT PETRINO, SR.
    WAKRANT ISSUED ON THE BASIS OF:             Ordcr of
       D Indictment          Q   Information   X Complaint

    TO;                                                                           cm
    ANY AUTHORLZED FEDERAL LAW ENFORCEMENT OFFICER
r-



I                YOU A m HEREBY COMMANDED to arrest the above-named person and bring that person bcfore the Unitcd
    States Districl C o w to answer to the charge(s) listed below.
                                                              DESCRIPTlON OF CHARGES

                                                         Transportation of Stolen Goods




                INVIOLATION OF
                                                                                                 I


I
                                                  I


                                                        OTHER ~ N D I T I O N SOF RELEASE


                                                                                                                                 DATE ORDERED

                                                                                                     w-v   --.
I   &W-RN
    J. MICHAEL McMAHON
                            DISTNCT OF N
                                                                                                                             I   DATE ISSUEI,




I                                                                        RETURN

                            This warrant was received and executed with the arrest ofthc above-named person
    DATK KF.Cb:IVED                             NAME AND TITLE OF ARRESTING ORICIIK                   SIGNATURE OF ARRFdC1'ItdG OFFICER


    DATE EXKUTRb



      Note: The arresting officcr is directed to scme the attached copy of the charge on the defendant at rhe timc this warrant ir executed.
                        U 5.   DIST. COURT
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Approved :
                   stant United States
Before:
              United States Magistrate Judge
              Southern District of New York
-----
                                                              COMPLAIWT
UNITED STATES OF AMERICA                                I



                                                              Violation of
                     - v -                                    10 U.S.C. § 2314

ROBERT PETRINO, SR.,                                          COUNTY OF OFFENSE:
                                                              NEW YORK


                                   Defendant.



SOUTHERN DISTRICT OF NEW YORK, ss.:
          THOMAS P. HALLINAN, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of
Investigation ("FBI"), and charges a s f o l l o w s :

                                       COUNT ONE

          2.      From on o r about January 18, 2 0 0 7 up to and          including
J a n u a r y 2 5 , 2 0 0 7 , ROBERT PETRINO, SR., the defendant,          unlawfully,
w i l l f u l l y and knowingly did t r a n s p o r t and transfer i n     interstate
commerce goods, wares and merchandise of the value of                      $5,000 and
more, knowing the same to have been stolen, converted                      and taken
by fraud, to wit, the defendant, transported to Rhode                      Island
jewelry with a market value of $5,000 and more.
          ( T i t l e 18, United S t a t e s Code, S e c t i o n s 2314 and 2 . )

          The bases for my knowledge a n d f o r the foregoing
charge, are, in p a r t , a s follows:
                  1.    I am a Special Agent with the F B I , and I have been
personally involved in the investigation of this matter. This
a f f i d a v i t i s based upon my personal knowledge, as well as
conversations with other law enforcement agents and my
examination of reports and r e c o r d s . Because this affidavit is
being submitted for the limited purpose of establishing probable
cause, it does n o t i n c l u d e all the facts that I have learned
                     U $. DIST. COURT
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during the course of my investigation. Where tne contents of
documents and the actions, statements and conversations of others
are reported herein, t h e y are reported in substance and in part,
except where otherwise indicated.
           2.   On or about January 24, 2007, the comptroller for
a jewelry store (the "Jewelry Store") located on East 57th Street
in Manhattan, New York contacted by telephone an FBI agent.
According to that agent, the comptroller informed him that the
Jewelry Store could not locate two rings that were listed on its
invent.ory. The Jewelry Store had last conducted an inventory of
its merchandise on or about January 15, 2007. The comptroller
indicated 'that the missing rings were identified in the inventory
by reference numbers F5400 and F5277, and they have a total
market value of approximately $300,000.
            3.      On or about January 25, 2007, another agent and I
visited the Jewelry Store and interviewed an employee of the
Jewelry S t o r e . The employee stated that on or about J a n u a r y 16,
17 or 10, between 1:00 p.m. and 4:00 p.m., she assisted a
customer in the Jewelry S t o r e who she described as having acted
in a suspicious manner, Specifically, the employee informed us
that the customer: (1) had been pacing; (2) had followed her into
the 'vault" area of the store; (3) repeatedly ignored hef
requests t o return and sit near a display t a b l e while she
retrieved items from the "vault;" and (4) repeatedly asked her to
retrieve additional items of jewelry while he examined jewelry
that had already been placed on a t r a y in f r o n t of him. The
employee described the customer as a white male with a medium
build in his late 40's or early SO'S, standing between 5 feet 10
inches and 6 feet 1 inch, with combed-back hair. The employee
stated that, among other items, she showed several different
rings and earrings to t h a t customer.
          4.   On or about January 25, 2007, I reviewed a d i g i t a l
video surveillance recording from the Jewelry Store for'the date
January 18, 2007. On the recording I observed a white male with
a medium build in his late 40's or early 50's enter the Jewelry
Store dressed in casual business attire at approximately 1:00
p.m.

          5.   I have reviewed a Commonwealth of Massachusetts
Registry of Motor Vehicles photograph of ROBERT PETRINO, SR., the
defendant. Based upon this photograph, I was able to identify
PETRINO as the customer recorded on the Jewelry Store
surveillance video from January 25, 2007 at approximately 1:00
p.m.
                    Ll 5 . DIST.
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           6.     On the video surveillance r e c o r d i n g Z also
observed the following:
          a.   At approximately 1:05 p.m., PETRINO appeared to
examine with a jeweler's loop an i t e m of jewelry that he was
holding in one of his hands. PETRINO distracted t h e employee who
was assisting him and then appeared to place the item of jewelry
in his right pants pocket.
            b.     A few minutes later, when the employee who was
assisting him momentarily turned away, PETRINO appeared to reach
toward a display table to his slde and then place h i s hand in one
of his p a n t s pockets.
          c.      On at l e a s t two occasions, PETRINO followed an
employee into   t h e "vault" area of the Jewelry Store, and at one
point in time   PETRINO stood alone by the "vault" area of the
Jewelry Store   while the "vault" was open,
          7.   I have been informed by an FBI agent in Rhade
Island of the following:
          a.    On or about January 25, 2 0 0 7 , l a w enforcement
agents in Pawtucket, Rhode Island, stopped a Silver Nissan
Exterra (the " N i s s a n " ) . PETRINO was the driver and lone occupant
of the Nissan.

              b.   PETRINO gave verbal consent t o search the Nissan.
Law enforcement agents found two rings and a watch in the center
console of the Nissan, each wrapped separately in tissue paper.
The rings had tags bearing the numbers F5400 and F5277,
respectively, and one of the rings had the name of the Jewelry
S t o r e inscribed i n s i d e of it.
                    11 5. DIST.
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     WHEREFORE, deponent prays that ROBERT PETRTNO, Sr., the
defendant, be imprisoned or bailed, as the case may be.




                                THOMAS P. HALLINAN
                                Special Agent
                                Federal Bureau of Xnvestigation




Sworn to before me this
January 25, 2007




U N I T E D STATES MAGISTRATE J U D G E
SOUTHERN DISTRICT OF NEW YORK




                                                                           TOTAL P. 04
